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                    IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF ARKANSAS
                              LITTLE ROCK DIVISION

INRE:          PATRICIA WALKER                                      CASE NO: 13-bk-12806
               DEBTOR                                               CHAPTER: 7


                                MOTION TO REOPEN CASE

        COMES now the Debtor, Patricia Walker, by and through her attorney, Everett 0.

Martindale, and for her Motion to Reopen Case, states:

        1. Debtor was granted a discharge of her bankruptcy under section 727 of title 11 of the

           U.S. Bankruptcy Code on February 19, 2014.

        2. Prior to that discharge, Debtor intended to file the attached Motion to Amend

           Schedule F to Add Unsecured Nonpriority Claims which consisted of 12 creditors

           having a total debt of $10,258.50.

        3. Debtor requests the Court allow her to reopen her Chapter 7 petition in order to file

           this Motion in order that these debts be included in her Petition and that the debts

           owed to these creditors be treated as those originally filed on her Schedule F as

           Unsecured Nonpriority Claims.

        WHEREFORE, Debtor requests the Court allow her Petition to be reopened in order that

she may file the attached Motion and for all other proper relief.




                                                      EVERETT 0. MARTINDALE
                                                      ABA#74100
                                                      Attorney for Debtor
                                                      902 West Second Street
                                                      Little Rock, AR 72201
                                                      Telephone 501-372-7600
                                                      Email:
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                                    CERTIFICATE OF SERVICE

       On this the 1st day of April,. 2014, a true and correct copy of this Motion was sent via the
ECF notification system to James F. Dowden, Trustee, U.S. Trustee, and t          other persons
required by the U.S. Bankruptcy Code including those listed on th         ch     otion.
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                    IN THE UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF ARKANSAS
                              LITTLE ROCK DIVISION

INRE:          PATRICIA WALKER                                      CASE NO: 13-bk-12806
               DEBTOR                                               CHAPTER: 7


                         MOTION TO AMEND SCHEDULE F TO
                        ADD UNSECURED NONPRIORITY CLAIMS

        COMES now the Debtor, Patricia Walker, by and through her attorney, Everett 0.

Martindale, and for her Motion, states:

        1,     Debtors requests that she be allowed to amend Schedule F of her Chapter 7

Petition in order to add the below list of creditors holding unsecured claims without priority

against the debtor or the property of the debtor. These creditors should be treated the same as

those originally listed under this classification:

ACCOUNT NO.                             CONSIDERATION                       AMOUNT CLAIM,

103657
AR Health Group Anesthesia              Medical Services                        595.00
11001 Executive Ctr Drive #200
Little Rock, AR 72211

114849
AR Health Group Anesthesia              Medical Services                          8.94
11001 Executive Ctr Dr #200
Little Rock, AR 72211

PIA 1006478
AR River Emergency                      Medical Services                        678.00
P. 0. Box 936100
Atlanta, GA 31193
3421
AR Epilepsy Program                     Medical Services                         16.14
2 Lile Court #100
Little Rock, AR 72205
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33000253100
Baptist Health                Medical Services                  1,669.04
P. 0. Box 25748
Little Rock, AR 72221

696065
Collection Service, Inc.      Collection for Medical Services     297.44
P. 0. Box 7545                Radiology Assos 696065
Little Rock, AR 72217         LR Pediatric Clinic 33571
                              Radiology Assoc 25192663
                              Radiology Assoc 696065

92448A1376
OrthoArkansas                 Medical Services                   3,945.38
P. 0. Box 55270
Little Rock, AR 72215

OrthoArkansas                 Medical Services                   1,670.00
10301 Kanis Road
Little Rock, AR 72205

OrthoArkansas                 Medical Services                   1,295.00
10301 Kanis Road
Little Rock, AR 72205
RCLR227504
Radiology Consultants of LR   Medical Services                      20.03
P. 0. Box 55510
Little Rock, AR 72215

696065
Radiology Associates          Medical Services                      20.65
P. 0. Box 8802
Little Rock, AR 72231

2062249
Radiology Associates          Medical Services                     42.88
P. 0. Box 8802
Little Rock, AR 72231


TOTAL:                                                          10,258.50
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       WHEREFORE, Debtor requests that she be allowed to amend her Schedule F to include

the creditors listed above and the debts owed to each be treated as those creditors listed on her

original Schedule F and for all other proper relief.

                                                       Isl Everett 0. Martindal
                                                       EVERETT 0. MARTINDALE
                                                       ABA#74100
                                                       Attorney for Debtor
                                                       902 West Second Street
                                                       Little Rock, AR 72201
                                                       Telephone 501-372-7600
                                                       Email:

                                     CERTIFICATE OF SERVICE

        On this the _ _ day of                , 2014, a true and correct copy of this Motion was
sent via the ECF notification system to James F. Dowden, Trustee, U.S. Trustee, and to all other
persons required by the U.S. Bankruptcy Code including all creditors 11.:n.o~1uu.
